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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI
ABERDEEN DIVISION

CHRISTOPHER C. DIGGS

PLAINTIFF
V. CIVIL ACTION NO. 1:15CV186~SA-DAS
THE BURLINGTON NORTHERN AND
SANTA FE RAILWAY COMPANY

DEFENDANT

DEPOSITION OF CHRISTOPHER DIGGS

Taken at the instance cf the Defendant at Waide &
ASSOCiateS, P.A., 332 North Spring Street, Tupelo,
MiSSiSSippi 38802, On Thursday, September 8, 2016,
beginning at 10:04 a.m.

NIKKI L. LLOYD, CCR #1870

JOb NO. C82360764

 

 

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APPEARANCES:

 

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Q -- I think I understand correctly that you say
they did this, that is not returning you to active duty,
because of your race.

A Yes, sir.

Q And you also say they did it because of your
disability; is that correct?

A Yes, sir.

Q And we'll get into the specifics of the
disability later.

Are there any other bad motives you think
caused BNSF not to grant, so far, your request to return
to active duty?

A No, sir, not that I know of.

Q All right. Now, you‘re aware, aren't you,
that the doctor at BNSF who is evaluating your request

for active duty is named Dr. Laura Gillis?

A Yes. Yes; sir.

Q All right. Have you ever met her?

A No, sir.

Q Is there anybody else who you believe is

actually making the decision either for or along with
Dr. GilliS?

A Make the decision?

Q To -- either to deem you medically fit or not

deem you medically fit to return to active duty.

 

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signature on it or --
MR. CRUTCHER: Yes, not -- not his lawyer's,
not somebody else for you.
MR. WOODRUFF: Lawyers, doctors --
Q (BY MR. CRUTCHER) That you personally, Chris

Diggs, communicating directly, personally to Dr. Gillis.
Am l missing something that you're aware of?

A l think ~~ I‘m getting confused, because I
received documentation from BNSF from the medical
department about returning to work.

Q Right.

A And I sent it back, so I think it was to

Dr. Gillis' office.

Q Right.

A But I can‘t remember if it was specifically to
Dr. Gillis.

Q Right. That's what I'm -- that's what I'm

interested in, something you addressed to Dr. Gillis
personally.

A I can't remember. l just don't recall.

Q All right. Behind Tab 5 in your binder, I've
copied a number of communications from Dr. Gillis
addressed personally to you.

A Yes.

(Exhibit 5 marked for identification.)

 

 

 

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Q (BY MR. CRUTCHER) Would you look at those
please, and tell me if you know if I missed any. Again,
these are things that she addressed personally to you,
not to your lawyers, not to your physicians.

A Yes, sir. I -- l ~~ I can recall this. This
is what l was talking about.

Q Okay. Do you know if I've -- I've left out
any communication, written communications, that
Dr. Gillis addressed personally to you from this
collection here behind Tab 5?

A No, sir, not that I know of.

Q Now, I think I can cut this next one off.
You're aware that your lawyers have addressed
communications to Dr. Gillis, right?

A vYes, sir.

Q But I'll bet you couldn‘t tell me if any stack
of them was all of them, right?

A l don't understand,

Q Have you seen every one of them or do you
think you've seen every one of them that your lawyers

have sent Dr. Gillis?

A Yes, sir.

Q You do?

A I think I have.

Q Okay. Then let's look at Tab 6.

 

 

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Q And you appealed the determination, but you
lost that case for railroad retirement benefits?

A Yes, sir.

Q And I'm trying to cut through a lot of paper
here. But you recall that the determination in that
Railroad Retirement Board case was that you were y
disabled from a job that you had done at BNSF but not
from all employment, correct?

A Yes, sir, right.

Q So would you look behind Tab 20, please.

MR. WOODRUFF: I'm sorry. What exhibit?
MR. CRUTCHER: Tab 20.

MR. WOODRUFF: 20?

(Exhibit 20 marked for identification.)

Q (BY MR. CRUTCHER) Uh-huh. Do you recall
having seen this before?

A Yes, sir.

Q Okay. This is the Railroad Retirement Board
decision that deemed you disabled from BNSF work, but
not all work, correct?

A Yes, sir.

Q Did you ever apply for Social Security
disability income?

A No, sir.

Q Okay. Do you know your -- strike that. I'm

 

 

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surgery?
A No, l don't -- I hate to ~- I don't have the
exact date.
Q Do you remember if it was after the surgery

that you asked Dr. Boles to send a note to BNSF saying
you could return to work?

A I think it was after the surgery that l asked
Dr. Boles to send a note that I could do the job that I
was doing in Amory, Mississippi.

Q vOkay. Now, look behind Tab 22, please, and
tell me if you remember getting a letter like this from
BNSF -- except, obviously, being signed by the sender ~-
after you asked Dr. Boles to send that note to BNSF.

A Yes, sir.

Q Okay. Had any physicians told you that you
were medically fit to return to your former job at BNSF
between July 2010 and July 2014?

b MR. wooDRUFF: what year?
(Exhibit 22 marked for identification.)

Q (BY MR. CRUTCHER) My question is: Had any
physicians treating you told you that you were medically
fit to return to your former job at BNSF between
July 2010 and July 2014?

A No, sir.

Q Who is the first physician to tell you that

 

 

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